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                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF PUERTO RICO


 In re:                                         Case No. 17-01713 ESL

 ALEXIS RAMIREZ ROSADO                          Chapter 13

 Debtor


 BANCO POPULAR DE PUERTO RICO                   Index ___

 Movant

 ALEXIS RAMIREZ ROSADO

 Respondent

 ALEJANDRO OLIVERAS RIVERA
 Chapter 13 Trustee


                     ANSWER TO MOTION FOR RELIEF OF STAY

 To the Honorable Court:

        Comes now, debtor, Alexis Ramirez Rosado (“Ramirez”) through his undersigned
 attorney and by means of answer to Motion For Relief of Stay filed by Banco Popular de
 Puerto Rico very respectfully avers and prays:

     1. Averments #1 and # 2, are ACCEPTED.

     2. Averment #3 is accepted. It is affirmatively asserted that movant Banco Popular
        filed before the Superior Court, Bayamón Part, an ordinary foreclosure
        procedure, titled Banco Popular de Puerto Rico v. Alexis Ramirez Rosado and
        spouse Elsie E. Berrios . This action was brought only against debtor Ramirez
        Rosado and his spouse. Popular did not accumulate in this complaint the
        Mortgage Note borrowers, Mr. Hector Nazario Cortes and Ana Lopez Rodríguez.
        By this action, Popular liberated the contractual borrowers from a subsequent
        judicial claim for the Note on the basis of Judicial Estoppel.

     3. Averment #4, is accepted.

     4. Averment #5 is Accepted in Part denied in Part. On March 28, 2006, debtor and
        his spouse acquired the real estate property located at Lot. No. 16, Block 28,

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        Santa Rosa Development, Bayamón, P.R. There is a debtor/creditor
        relationship between debtor and movant. Popular filed the foreclosure
        proceeding only against debtor and his spouse as title owners of the real estate
        property. Thus, it liberated the contractual borrowers from any subsequent
        judicial claim. See: Atanacia Corp. v J.M. Saldana, Inc., 133 D.P.R. 284 (1993).


 5. Paragraph #6 of the Motion for Lift of Stay is denied. Debtor had attended Popular’s

     offices and tried to establish and pay monthly to movant. Furthermore, debtor

     informed movant’s officials that he has been promised a relief help from the

     Bayamon Housing Department of no less $20,000 after July 2017. These monies

     would be available after the new fiscal year according to the government officials.

     Debtor will consign the monthly payments during the plan. He has tried,

     unsuccessfully to obtain a loss mitigation from Popular and/or a short payoff.



 6. Paragraph 7 of the Motion for Lift of Stay is a conclusion of law and does not require

     a responsive allegation.


 7. Paragraph 8 is a conclusion of law and does not require a responsive allegation.

     However, it is denied. Popular’s motion for Lift of Stay fails to comply with Local

     Bankruptcy Rule 9013-2. It lacks supporting memorandum that contains the points

     and authorities in support of the party’s position, together with any affidavits or

     documents in support thereof. In addition, it lacks an indispensable fact, that is, the

     value of the property in question. Nowhere in its motion Popular has established the

     real estate’s value. This is an indispensable fact to establish whether or not Popular

     is an over-secured or under-secured mortgage creditor and is entitled to adequate

     protection.


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 8. Paragraph 9 is a conclusion of law that does not require a responsive allegation.


                                  AFFIRMATIVE DEFENSES

     A. Movant, Banco Popular de Puerto Rico is an under-secured mortgage creditor

        and as such is not entitled to Adequate Protection and/or equal payments. In its

        motion, Popular asserts a $161,967.87 debt. The current value of real estate

        properties at Santa Rosa Development, Bayamon, Puerto Rico is around

        $80,000.00

     B. The motion to Lift Stay does not comply with Local Bankruptcy Rule 9013-2. It

        lacks supporting memorandum that contains the points and authorities in support

        of the party’s position, together with any affidavits or documents in support

        thereof. Furthermore, it does not comply with the federal pleading practice

        requirements established by the Supreme Court of the United States, in Bell

        Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007), and Ashcroft v.

        Iqbal, 556 U.S. 662 (2009.

     C. On April 28, 2015, Respondent-Debtor and his spouse obtained an Order of

        Discharge under 11 U.S.C. §727 (Case No. 11-02825, Doc#:124). As Ramirez

        is not the contractual debtor and was brought as the title owner of the collateral,

        Ramirez’s obligation is determined by the property’s value. Any other attempt to

        claim more that the value of the property is a violation of the Discharge

        Injunction contained in 11 U.S.C. §524. See also, Johnson v. Home State

        Bank, 501 U.S. 78 (1991).



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     D. The real estate property is Debtor’s residence and is necessary for his

          reorganization under Chapter 13 of the Bankruptcy Code. He currently receives

          disability income from Social Security and certainly would not obtain a new

          residence.

          WHEREFORE, for the above stated, debtor requests that movant’s Motion for Lift

 of Stay be denied.

                                        CERTIFICATE OF SERVICE

 The undersigned hereby certifies that on this same date has electronically filed the foregoing with the Clerk of Court

 using the CM/ECF System which will send notification of such filing to:

 MONSITA LECAROZ ARRIBAS ustpregion21.hr.ecf@usdoj.gov

 ALEJANDRO OLIVERAS RIVERA
 aorecf@ch13sju.com

 CARLOS G BATISTA JIMENEZ on behalf of Creditor BANCO POPULAR DE PUERTO RICO
 lcdobatista@frauyasoc.com

 In Bayamón, Puerto Rico, this May 23, 2017.

                                                                /s/ Aníbal Medina Ríos
                                                                Anibal Medina Rios USDCPR 125611
                                                                Attorney for debtor
                                                                Urb. Santa Cruz
                                                                C23 Calle Marginal
                                                                Bayamon, P.R. 00961-6706
                                                                Email:medinalaw@gmail.com
                                                                Tel: (787)460-6364




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